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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 18-20668-CR MIDDLEBROOKS

  UNITED STATES OF AMERICA,
            Plaintiff,

  vs.

  JAMES SIPPRELL,
              Defendant(s)
  ___________                               /

     ORDER REQUIRING STATUS REPORT AS TO DEFENDANT JAMES SIPPRELL

         THIS CAUSE comes before the Court sua sponte.          Due to the Defendant’s medical
  condition, on August 8, 2019 his trial was continued and severed from that of his co-defendants.
  In order to determine a new trial date, counsel for Defendant Sipprell shall file a Status Report on
  or before January 10, 2020 advising the Court of the status of Defendant’s medical condition.
         DONE AND ORDERED at Miami, Florida, this 3rd day of December, 2019.




                                                               Donald M. Middlebrooks
                                                               United States District Judge

  cc: Counsel of Record
